
688 N.E.2d 308 (1997)
175 Ill.2d 539
227 Ill.Dec. 827
PEOPLE State of Illinois, Respondent,
v.
Kenny W. GWARTNEY, Petitioner.
No. 83865.
Supreme Court of Illinois.
December 3, 1997.
Petition for leave to appeal denied.
In the exercise of this Court's supervisory authority, the portion of the judgment of the Appellate Court, Fourth District, in case No. 4-96-0178, 289 Ill.App.3d 350, 225 Ill.Dec. 329, 683 N.E.2d 497 which denied the defendant's request for an additional day credit against his sentence is VACATED. This cause is remanded to the Appellate Court, Fourth District, with directions to enter an order granting defendant one day additional credit.
